74 F.3d 1258
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Bruce E. GARDNER, Petitioner,v.DEPARTMENT OF the TREASURY, Respondent.
    No. 95-3770.
    United States Court of Appeals, Federal Circuit.
    Dec. 21, 1995.
    
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      68 M.S.P.R. 258 [VACATING, 67 F.3d 318].
    
    
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      CASE REINSTATED.
    
    ON MOTION
    ORDER
    
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      Upon consideration of Bruce E. Gardner's response to this court's November 22, 1995 order directing Gardner to inform the court whether he has withdrawn his appeal at the regional office, and it appearing that Gardner has withdrawn his appeal at the regional office,
    
    IT IS ORDERED THAT:
    
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      (1) Gardner's motion for reconsideration is granted.  The court's September 21, 1995 dismissal order is vacated, the mandate is recalled, and the case is reinstated.
    
    
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      (2) Gardner should compute the due date for his brief from the date of service of the certified list by the Board.
    
    